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                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                             FOR THE NINTH CIRCUIT
                                                                      MAY 17 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 MATT JONES; et al.,                             No. 23-15530

               Plaintiffs,
                                                 D.C. No. 5:22-cv-04486-BLF
   v.                                            U.S. District Court for Northern
                                                 California, San Jose
 PGA TOUR, INC.,
                                                 ORDER
               Defendant-counter-
               claimant - Appellee,

  v.

 PUBLIC INVESTMENT FUND OF
 THE KINGDOM OF SAUDI ARABIA;
 YASIR OTHMAN AL-RUMAYYAN,
 His Excellency,

               Counter-defendant –
               Appellants.



        The Mediation Program of the Ninth Circuit Court of Appeals facilitates

settlement while appeals are pending. See Fed. R. App. P. 33 and Ninth Circuit

Rule 33-1.

        By May 24, 2023, counsel for all parties intending to file briefs in this

matter are requested to inform Robert S. Kaiser, Circuit Mediator, by email at

Robert_Kaiser@ca9.uscourts.gov, of their clients' views on whether the issues on
        Case: 23-15530, 05/17/2023, ID: 12718061, DktEntry: 11, Page 2 of 2

appeal or the underlying dispute might be amenable to settlement presently or in

the foreseeable future. Counsel are requested to include the Ninth Circuit case

name and number in the subject line. This communication will be kept

confidential, if requested, from the other parties in the case. This communication

should not be filed with the court.

       For more detailed information about the Mediation Program and its

procedures generally, please see the Mediation Program website:

www.ca9.uscourts.gov/mediation.

       The existing briefing schedule remains in effect.

                                                 FOR THE COURT:

                                                 Beatriz L. Smith
bls/mediation                                    Deputy Clerk
